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                  Preliminary Expert Report of Eric Francis Naugle

1. My name is Eric Francis Naugle. I have been actively employed in police practices and
   law enforcement since 1988. I was an active law enforcement officer from 1988 to 2001
   and 2002 to May 2021. Since my retirement from law enforcement in May 2021, I have
   been involved in law enforcement and security/intelligence practices as a Use of Force
   Instructor and Transportation Security Administration Academy Instructor at the Federal
   Law Enforcement Training Center, Glynco, Georgia. I have additionally been a private
   consultant in the field of traffic accident reconstruction and police practices since 2010.
2. My education includes an associate degree in information technology in Networking
   Administration. I have a Georgia Post Supervisory certification, Georgia Post Law
   Enforcement General Instructor Certification, Georgia POST Driver Instructor
   Certification, Federal Law Enforcement Training Center Instructor Certification, Federal
   Law Enforcement Training Center Driver Instructor Certification, Use of Force Instructor,
   Non-lethal Training Ammunition Instructor, Human Performance Instructor, Certified
   Peace Officer by the Georgia Peace Officer and Training Council (P.O.S.T.C.).
3. I have been an adjunct instructor at the Savannah Peace Officer Academy located in Pooler,
   Georgia since 2013. In that capacity I was responsible for teaching law enforcement
   courses to basic training cadets regarding traffic accident investigation, DUI law, advanced
   traffic law, and police procedures.
4. I have been in law enforcement supervision and management since 1992. My most recent
   management position was a Lieutenant with the Glynn County Police Department where I
   served as a patrol supervisor, patrol watch commander, traffic unit supervisor, traffic unit
   commander, and department training officer.
5. I was a member of the policy committee at the Glynn County Police Department, tasked
   with reviewing and updating police department policy to align with the Georgia Chief’s of
   Police and the CALEA accreditation programs.
6. I have developed, modified, and written law enforcement course lesson plans. However, I
   have never published my work.
7. I have conducted training for law enforcement officers overseas, across the continental
   United States, and within the state of Georgia. I have provided training in the following
   areas:
       • Traffic Accident Investigation and Reporting
       • Motor Vehicle Law
       • Setup and Operation of the Total Station Mapping System
       • Basic Crash Investigation
       • Crime Scene Mapping using the Total Station Mapping System
       • Crash Investigation Mapping Using the Total Station Mapping System
       • Computer Aided Diagramming using AutoCad and CrashZone
       • Georgia Electronic Accident Reporting System (GEARS)
       • Use of Force
       • Post Incident Procedures
       • Designing, Developing, and Evaluating Labs and Practical Exercises
       • Student Centered Feedback Model
       • Non-lethal Training Weapons and Ammunition
       • Human Performance
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       •   X-Ray operator
       •   Pat-downs
       •   Improvised Explosive Devices
       •   Explosives detection screening
       •   Additional Screening of Individuals
       •   Additional Screening of Property
       •   Advanced Imaging Technology
       •   Individuals with Disabilities Screening Procedures

8. I am a former non-commissioned officer with the United States Army Military Police
    where I served on active duty for 7 years, 4 months and 10 days. During my tenure with
    the U.S. Army Military Police, I served in the following capacities: patrol officer, criminal
    investigator, AWAT officer, desk sergeant, black marketing investigator, juvenile crimes
    investigator and NCOIC, and traffic accident investigator. My entire service consisted of
    garrison law enforcement duties.
9. I have been a Georgia peace officer since July of 1995. I am a retired Lieutenant with the
    Glynn County Police Department, Brunswick Georgia. During my tenure as a Georgia law
    enforcement officer, I have served in the following capacities: patrol officer, shift
    supervisor, watch commander, department training officer, special duty unit officer, traffic
    accident investigator, traffic accident reconstructionist, traffic unit supervisor, traffic unit
    commander, H.E.A.T. unit commander, and SWAT officer.
10. The course on Traffic Accident Investigation and reporting focuses on response to the
    scene, identification of roadway and vehicle evidence, interpretation of evidence,
    eyewitness testimony, determining contributing factors, and report writing.
11. The course on motor vehicle law focuses on Title 40 of the Official Code of Georgia
    Annotated (O.C.G.A.). Students are taught the laws related to motor vehicles and how to
    enforce them.
12. The course on Setup and Operation of the Total Station Mapping System focuses on the
    science behind the equipment, identifying equipment parts and functions, how to set up the
    system and related software, how to map a crime scene, and how to download the data to
    a computer aided diagramming software program.
13. The course on Basic Crash investigation focuses on response to the scene, identification of
    roadway and vehicle evidence, interpretation of evidence, eyewitness testimony,
    determining contributing factors, and when to contact a traffic accident investigator.
14. The course Crime Scene Mapping using the Total Station Mapping System focuses on the
    unique aspects of measuring crime scenes to create a three-dimensional (3D) diagram of
    the scene for presentation in court.
15. The course Crash Investigation Mapping Using the Total Station Mapping System focuses
    on the unique aspects of measuring crash scenes to create two-dimensional (2D), and 3D
    diagrams, and how to create accurate animations for presentation as evidence in court.
16. The course on Computer Aided Diagramming using AutoCad and CrashZone focuses on
    the unique aspects of each program and how to use them in conjunction with the total
    station to create scene diagrams.
17. The course on Georgia Electronic Accident Reporting System (GEARS) focuses on
    completing the Georgia Uniform Traffic Accident Report using the GEARS software
    program.
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18. The course on Use of Force focuses on the constitutional requirements of police use of
    force and understanding the relevant legal opinions by the United States Supreme Court.
19. The course on post-incident procedures focuses on what do after a law enforcement officer
    involved shooting.
20. The course on Designing, Developing, and Evaluating Labs and Practical Exercises teaches
    the student instructor how to design, develop and evaluate labs and practical exercises by
    providing instruction on the elements necessary for each component, as well as the legal
    aspects required for the training.
21. The course on the Student-Centered Feedback model focuses on teaching the instructor
    how to elicit information from a student in a manner that is both positive and facilitates the
    student learning.
22. The course on Non-Lethal Training Weapons and Ammunition focuses on the use of
    modified weapons and ammunition which can safely be used in a live training environment.
23. The course on Human Performance focuses on what happens to the mind and body during
    tense, uncertain, and rapidly evolving use of force encounters with police officers.
24. The following course specifics are classified as Sensitive Security Information by the
    United States Government, the Department of Homeland Security, and the Transportation
    Security Administration and may not be divulged:
    •       X-Ray operator
    •       Pat-downs
    •       Improvised Explosive Devices
    •       Explosives detection screening
    •       Additional Screening of Individuals
    •       Additional Screening of Property
    •       Advanced Imaging Technology
    •       Individuals with Disabilities Screening Procedures
25. I have over three decades of experience developing, conducting, investigating, and
    instructing law enforcement operations and policy/procedure.
26. My experience, training, and background exceeds the information in this report. Additional
    information can be provided upon request.
27. I have reviewed the following materials to date regarding this case:
        a. Georgia Motor Vehicle Crash Reports completed by Savannah Chatham
            Metropolitan Police Department (SCMPD)
        b. Case supplements from SCMPD
        c. The first indictment against Mr. Fehrle
        d. The second indictment against Mr. Fehrle
        e. Search warrant for blood of Mr. Fehrle
        f. Search warrant for Fehrle vehicle and airbag control module
        g. Witness statements
        h. Scene photographs from SCMPD
        i. Vehicle examination photographs of Fehrle vehicle from SCMPD
        j. 18 pages of Fehrle medical records obtained by Corporal Walp
        k. Large production of Fehrle medical records (892 pages)
        l. GBI lab reports of Fehrle and Bailey
        m. Drag sled testing notes from Corporal Walp of SCMPD
        n. Crash scene diagramming by SCMPD
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        o. Criminal history of Mr. Fehrle
        p. Chatham County Detention Center Care Report
        q. SCMPD General Order for Public Records
        r. Additional SCMPD General Orders
        s. Injury Diagram of Mr. Fehrle from SCMPD
        t. Intergovernmental agreement between Savannah and Chatham County Georgia
        u. Personnel file of Corporal Walp
        v. Separation of Corporal Walp from Savannah
        w. Fehrle text messages
        x. Training records of Corporal Walp
        y. Notice of lawsuit (Ante Litem Notice)
        z. Amended Complaint
        aa. Defendants’ discovery responses
        bb. Plaintiff’s discovery responses
        cc. Plaintiff’s initial disclosures
        dd. Deposition of Assistant Chief Gavin
        ee. Deposition of Mr. Fehrle
        ff. Deposition of Corporal Walp
        gg. Declaration of Dr. Schere
28. This expert report is based upon the materials provided to date. The opinions presented in
    the report are based upon my specialized experience, training, and knowledge of police
    practices, traffic crash reconstruction, forensic examination of evidence, and my continued
    research in law enforcement. This work includes conducting training for law enforcement
    throughout the United States. My opinions are provided with reasonable certainty within
    the fields of law enforcement, police activity, supervision, and management. I am familiar
    with civil litigation and discovery. I recognize that there may be additional documentation
    as the case progresses. If additional material is produced, I shall be prepared to provide a
    supplemental report as necessary.
29. This report is based upon the facts as they are presented by the material and does not draw
    conclusions based upon credibility issues of the parties.
30. On the afternoon of August 21, 2016, the decedent in this case, Ms. Shannon Bailey, was a
    36-year-old female who was riding as a front seat passenger in Mr. Fehrle’s vehicle, a 2012
    Volkswagen CC Sport VIN: WVWMN7AN5CE516142. A traffic accident occurred
    resulting in the death of Ms. Bailey.
31. This crash occurred at approximately 2:48 pm in the 1200 block of East Anderson Street,
    between Live Oak and Cedar Streets in Chatham County, Georgia. The posted speed limit
    is 35 mph, although some of the police reports state that it is 30 mph. SCMPD Motor
    Vehicle Crash Report #160821114.
32. Mr. Fehrle was originally charged with the following: Homicide by Vehicle 1st Degree 40-
    6-393(a) (DUI Drugs), Homicide by Vehicle 1st Degree 40-6-393(A) (Reckless Driving;
    20 mph over the speed limit), DUI Less Safe (Drugs) 40-6-391(a)(2), Reckless Driving 40-
    6-390 (Only references speed), and Hit and Run 40-6-270.
33. Homicide by Vehicle (1st Degree) requires probable cause to believe the defendant either
    improperly passed a school bus loading or unloading O.C.G.A. § 40-6-163, operated a
    vehicle in reckless disregard for the safety of persons or property, operated a vehicle while
    under the influence of alcohol, drug, or toxic vapor O.C.G.A. § 40-6-391, and/or left the
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    scene of an accident involving personal injury to or death of person or damage to vehicle
    O.C.G.A. § 40-6-270. Re: Georgia Law Enforcement Handbook, Criminal Law &
    Procedure, 2016-2017 Edition, Thomson Reuters.
34. O.C.G.A. § 40-6-163: No evidence was presented for this offense.
35. O.C.G.A. § 40-6-270 Leaving the Scene of an Accident with Injury, Death, or Damage:
    Corporal Walp pursued charges against Mr. Fehrle for “Hit and Run”. Corporal Walp
    reported that Mr. Fehrle failed to immediately stop his vehicle after being involved in a
    collision with the vehicles prior to him striking the trees.
36. O.C.G.A. §40-6-391(a): Corporal R. Walp of the SCMPD relied upon an 18-page,
    incomplete, medical report to support his conclusion that Mr. Fehrle was under the
    influence of drugs at the time of this crash. The 18-page report obtained by Corporal Walp
    reported an admission time of 3:32PM on August 21, 2016, under the alias, Jason Gracia
    (Pg. 1) and revealed Mr. Fehrle received pre-hospital admission treatment (Pg. 2) and was
    intubated in the trauma bay during the primary survey by medical personnel (Pg. 3).
37. The first reported blood testing was initiated at 3:39PM on August 21, 2016, and was just
    a fingerstick (Pg. 5).
38. The second blood collection was initiated at 3:45PM on August 21, 2016, and a negative
    test result for Ethyl Alcohol was determined (Pg. 5, 6).
39. Hours later, a urine screen was initiated at 5:50PM on August 21, 2016, which revealed the
    presence of Benzodiazepines (Pg 9).
40. The above information (35, 36, 37, and 38) is information from the 18-page medical report
    Corporal Walp apparently used in charging Mr. Fehrle. This information is sufficient to call
    into question the blood sample taken by Memorial Health University Medical Center and
    conduct further investigation before bringing charges.
41. Mr. Fehrle’s medical records from August 21, 2016 clearly reveal he was administered both
    Fentanyl 50mcg/mL, and Midazolam 1mg/mL among other medications.
42. The Fentanyl and midazolam were ordered at 1536 (3:36PM) on August 21, 2016, by
    medical staff and administered at 1542 on that date, three minutes before any blood vials
    were obtained.
43. Corporal Walp failed to conduct a thorough investigation into what if any drugs would have
    been administered to Mr. Fehrle during this process, what time this occurred, and how that
    compared with the time of the blood draws by the hospital.
44. Police officers are not to make unwarranted assumptions, they are fact finders and are
    required to diligently investigate and gather all the facts.
45. According to Corporal Walp, Mr. Fehrle’s medical records did not show he was
    administered Midazolam nor Fentanyl. This has been proven to be false. Corporal Walp’s
    negligence resulted in the DUI charge.
46. O.C.G.A. § 40-6-390: Corporal Walp used the wrong methodology to determine the speed
    of Mr. Fehrle’s vehicle. Mr. Fehrle’s vehicle was rotating clockwise while traveling to its
    final rest. The roadway evidence clearly showed this. Additionally, the tire marks displayed
    signs of rotating while also sliding on the roadway. This type of speed analysis requires
    using a spin analysis to estimate speed.
47. Corporal Walp used what is commonly referred to as a slide to stop formula which is used
    primarily for a vehicle which brakes and slides to stop on its own. A variation of this
    formula is also used to combine speeds and determine an overall speed across different
    surfaces.
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48. According to Corporal Walp’s training records, he was provided with instruction to conduct
    a spin analysis. Corporal Walp was either negligent in applying his training or incompetent
    to conduct this level of accident reconstruction.
49. Corporal Walp conducted drag factor testing on the roadway where this crash occurred.
50. According to Corporal Walp, the following measurements were conducted: Drag sled
    weight: 35 pounds: Pounds of force: 34, 31, 34, 34, 33, 34, 33, 34, 34, 35 Resultant
    Average: 33.6 Drag factor: f=0.96g
51. The resulting numbers are scientifically unsound for a well-travelled asphalt roadway and
    are indicative of Corporal Walp improperly using the drag sled and most likely using the
    static friction results instead of the dynamic friction results.
52. Corporal Walp later conducted additional drag sled testing: Drag sled weight: 50 pounds:
    Pounds of force: 35, 40, 40, 41, 42, 38, 40, 41, 41, 40 Resultant Average: 39.8 Drag factor:
    f=0.79g.
53. The resulting numbers are scientifically unsound for a well-travelled asphalt roadway and
    are indicative of Corporal Walp improperly using the drag sled by not holding the scale and
    pulling mechanism level with the roadway. The results of Corporal Walp’s second drag
    tests are consistent with either a freshly paved asphalt or concrete roadway.
54. The airbag module from Mr. Fehrle’s Volkswagen does not record speed. Corporal Walp
    allegedly conducted drag sled measurements to determine the drag factor of the roadway
    where this crash took place. According to Corporal Walp, the following measurements were
    conducted: Drag sled weight: 35 pounds: Pounds of force: 34, 31, 34, 34, 33, 34, 33, 34,
    34, 35 Resultant Average: 33.6 Drag factor: f=0.96g Drag sled weight: 50 pounds: Pounds
    of force: 35, 40, 40, 41, 42, 38, 40, 41, 41, 40 Resultant Average: 39.8 Drag factor: f=0.79g
55. Corporal Walp then used an improper methodology to conduct a speed analysis using the
    0.79g drag factor and the 277.5 feet of skid distance. The resultant speed was reported to
    be 81 mph.
56. Corporal Walp reported that Mr. Fehrle was driving so fast his speed would rise to the level
    of Reckless Driving.
57. Corporal Walp based his charge of Reckless Driving on improper use of scientifically
    sound formulae, and his negligent application of those formulae.
58. Corporal Walp used data which was negligently obtained regarding the speed of Mr.
    Fehrle’s vehicle to go forward with this charge. Additionally, Corporal Walp provided no
    further basis for Reckless Driving other than speed. It is well known that in the State of
    Georgia, Reckless Driving cannot be charged by speed alone. There must be some other
    aggravating factor(s). Corporal Walp made no reference to that effect.
59. The criminal charges were then significantly amended when it was proven to Corporal
    Walp that Mr. Fehrle had been administered Midazolam and Fentanyl prior to the blood
    draw he had used to make the DUI charge.
60. Corporal Walp then helped continue the prosecution with a second indictment against Mr.
    Fehrle for Reckless Driving and other offenses, alleging that Mr. Fehrle had a “known
    seizure disorder” and was reckless in operating a motor vehicle because he was “not taking
    his prescribed medicine”.
61. However, according to Mr. Fehrle’s medical records, he had not been diagnosed with a
    “seizure disorder”.
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62. According to Mr. Fehrle’s medical records, he had voluntarily sought treatment after his
    first “possible” seizure and was given a limited prescription for Keppra, which time had
    expired prior to the date of this accident.
63. The Department of Driver Services for the State of Georgia made no known attempt to
    revoke or restrict Mr. Fehrle’s legal ability to operate a motor vehicle meaning all rights
    and privileges afforded a citizen of this state to operate a motor vehicle on the public
    roadways were intact.
64. Mr. Fehrle was operating a 2012 Volkswagen CC VIN: WVWMN7AN5CE516142
    Edwards was driving a 2009 Dodge Charger VIN: 2B3KA33V49H571709 Traffic control
    in the area: One way roadway; 2 lanes; dashed lane lines.
65. The reporting officer stated that Fehrle’s vehicle struck the rear of the Dodge Charger.
    Fehrle was said to be speeding. The Dodge Charger left the roadway, swiping a tree. Mr.
    Fehrle continued to impact with a tree and rolled over. The impact location to Mr. Fehrle’s
    vehicle with the Dodge Charger was reported to be the left side (driver side) front. The
    Dodge Charger was reported to be damaged on the right side (passenger side) rear.
66. The Witness stated the Dodge was in the left lane, and Mr. Fehrle’s vehicle was in the right
    lane. The Witness further stated Mr. Fehrle’s vehicle bumped the rear of the Dodge Charger
    a couple of times as if to say get out of the way.
67. Corporal Walp reported in his notes the skid distance for Mr. Fehrle’s vehicle was 277.5
    feet. Mr. Fehrle traveled an additional 125 feet during the rollover, taking out a tree. Walp
    said there was no side of the vehicle undamaged from the rollover.
68. The reporting officer stated that Fehrle’s vehicle struck the rear of the Dodge Charger.
    Fehrle was said to be speeding. The Dodge Charger left the roadway, swiping a tree. Mr.
    Fehrle continued to impact with a tree and rolled over. The impact location to Mr. Fehrle’s
    vehicle with the Dodge Charger was reported to be the left side (driver side) front. The
    Dodge Charger was reported to be damaged on the right side (passenger side) rear.
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    lane. The Witness further stated Mr. Fehrle’s vehicle bumped the rear of the Dodge Charger
    a couple of times as if to say get out of the way.
70. Corporal Walp reported in his notes the skid distance for Mr. Fehrle’s vehicle was 277.5
    feet. Mr. Fehrle traveled an additional 125 feet during the rollover, taking out a tree. Walp
    said there was no side of the vehicle undamaged from the rollover.
71. Report by Sergeant Fandrich: Tire marks began on the north side of East Anderson Street
    next to the curb. Mr. Fehrle’s vehicle traveled East to the South side of the road. The tire
    marks began as thin lines, then widened indicating the vehicle was rotating. There were
    four tire marks which ended at the curb on the South side of the road. An oak tree had a
    large section of bark missing. A palm tree was “snapped in two” and the roots were
    exposed.
72. Witness Robinson: Was traveling East in the right lane. Estimated the speed of Mr. Fehrle’s
    vehicle to be approximately 60 to 65 mph. When the VW hit the brakes, it went sideways.
    When the VW hit the palm tree it flipped over.
73. Witness Brockington: Was traveling in the right lane, Ms. Hobbs was in the left lane. They
    were side by side. When they crossed over Waters Avenue, the VW drove between them.
    When the VW got “a couple of yards” in front of them, it “wiggled” and made a sharp right
    turn. The VW then went off the road and hit a tree.
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74. Corporal Walp: Both occupants were seat belted when extricated. EMS reporting confirms
    Fehrle was in a seatbelt with his legs hanging out of the driver side window.
75. The coroner said the passenger was restrained. The passenger was under the driver. The
    VW was on its driver’s side at rest.
76. Examination of the scene photographs show the passenger in Mr. Fehrle’s vehicle belted
    in at vehicle rest. The pictures show the shoulder belt around her waist with the lap belt.
    This is another indication that she came out of her shoulder belt in an attempt to gain control
    of the vehicle during Mr. Fehrle’s seizure.
77. Witness Williams: Was on his porch at 1232 East Anderson Street. Said he heard the
    revving of the engine of the VW. Said he saw it traveling at a high speed. Saw the car on
    the left side of the road at the time he heard the engine revving. Said the Car started sliding
    across the roadway and rotated about 90 degrees.
78. Witness McKinney: Said she was at Waters Avenue when the VW went between her car
    and another at a fast speed. Did not see the crash. Witness Whitfield: Was at the stop sign
    on Cedar Street facing South. Only observed the car spinning and coming to final rest.
79. Given the vehicle dynamics, witness statements, medical records, and other documents I
    have reviewed, my opinions are as follows:
80. Mr. Fehrle had a seizure which resulted in his body locking up with his foot on the
    accelerator pedal.
81. Having a seizure while driving resulted in Mr. Fehrle having no control over his vehicle,
    nor the ability to stop.
82. Corporal Walp failed to analyze all the evidence which reveals Mr. Fehrle more likely than
    not had a seizure while driving.
83. Corporal Walp persisted in the charge of Hit and Run, even after he learned that Mr. Fehrle
    had a seizure while driving.
84. According to Corporal Walp, Mr. Fehrle’s medical records did not show he was
    administered Midazolam nor Fentanyl. This has been proven to be false. Corporal Walp’s
    negligence resulted in the DUI charge.
85. I examined the medical records of Mr. Fehrle and found that he was administered
    Midazolam and Fentanyl in the hospital at 3:42PM on August 21, 2016. Additionally, Mr.
    Fehrle was prescribed Keppra by Dr. John M. Allen M.D., Department of Surgery,
    Memorial University Medical Center.
86. The second indictment of “Hit and Run” is malicious on its face as there was no legal basis
    for this charge at that time.
87. No objectively reasonable and competent police officer could have looked at the facts in
    this case and concluded the charges were warranted against Mr. Fehrle.
88. Corporal Walp used capital letters to emphasize negative things in his report regarding Mr.
    Fehrle, such as “ANY”, and “AT FAULT” which in my experience as a police officer,
    supervisor and commander is indicative of a bias against a defendant.
89. It has been my experience in over three decades as a law enforcement officer that generally,
    some officers are more interested in making charges stick than they are in finding the truth.
90. The SCMPD failed to properly supervise the actions of Corporal Walp, resulting in the
    unconstitutional arrest and prosecution of Mr. Fehrle.
91. Supervision is a basic police principle to ensure officers are acting appropriately and within
    the law to avoid constitutional violations.
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 92. Based upon my personal experience investigating other traffic accidents in the charge of
     the SCMPD I have found a lack of training, supervision, and overall investigative diligence
     whereby I have proven the innocence of aggrieved parties at the hands of the SCMPD.
 93. I went to the scene of this crash and conducted drag testing. I conducted 10 individual tests
     in multiple locations in the area. I recorded and calculated the dynamic friction and static
     friction for each test. Below are the results: Drag sled weight: 30 pounds: Pounds of force:
     Dynamic/drag factor Static/drag factor Dynamic 19 0.63 Static 22 0.73 Dynamic 18 0.60
     Static 23 0.76 Dynamic 19 0.63 Static 22 0.73 Dynamic 21 0.70 Static 23 0.76 Dynamic
     21 0.70 Static 22 0.73 Dynamic 21 0.70 Static 26 0.86 Dynamic 21 0.70 Static 23 0.76
     Dynamic 21 0.70 Static 23 0.76 Dynamic 21 0.70 Static 29 0.96 Dynamic 21 0.70 Static
     29 0.96 Average: Dynamic 20.3 0.67 Static 24.2 0.80 The above tests I conducted reveal
     Corporal Walp improperly used the drag sleds. Corporal Walp’s drag testing is inconsistent
     with the roadway this crash occurred on. Corporal Walp was negligent in the application
     of his training and was not properly supervised.
 94. My analysis revealed Mr. Fehrle’s vehicle was traveling approximately 60 mph at the
     beginning of the tire marks.
 95. The calculated drag factor of 0.67g is consistent with a well-traveled asphalt roadway and
     with 100’s of tests which I have conducted on similar roadways in the past.
 96. The subsequent acceleration drove his vehicle into the rear of the Dodge Charger. As stated
     by witnesses, Mr. Fehrle’s vehicle struck the rear of the Dodge Charger multiple times, as
     if to push it out of the way. This is consistent with Mr. Fehrle’s vehicle acceleration being
     interrupted by the impact with the Dodge Charger, traveling at a slower speed.
 97. Multiple witnesses stated Mr. Fehrle’s vehicle was driving between cars and then moved
     to the left edge of the roadway, where it entered into a clockwise rotation.
 98. Mr. Fehrle’s vehicle traveled across the roadway where it struck the curb and rolled over.
 99. The reported and analyzed dynamics of Mr. Fehrle’s vehicle are consistent with Mr. Fehrle
     having a seizure and being unable to control the vehicle.
 100.         Additionally, the vehicle movements are consistent with the passenger of the
     vehicle trying to take control and bring the vehicle to a safe stop. Mr. Fehrle was having
     his seizure during the initial multiple strikes to the rear of the Dodge Charger.
 101.         The movements between the vehicles and the clockwise rotation are consistent with
     the front seat passenger grabbing the wheel and attempting to control the vehicle.
102. The front seat passenger heroically attempted to take control of the vehicle during this
    incident.
103. Mr. Fehrle was given seizure medication while in the hospital after the August 21, 2016
    accident.
104. It is my opinion this crash was the direct result of Mr. Fehrle having a seizure, something
    he had no control over.
105. It is my opinion that Corporal Walp failed to properly apply his training in this case, failed
    to be diligent in his investigation, and the SCMPD failed to properly supervise and monitor
    Officer Walp’s investigation resulting in the unlawful and unconstitutional arrest,
    prosecution, and incarceration of Mr. Fehrle.
106. Corporal Walp’s “investigation” in this case was constitutionally deficient.
107. It is my opinion, based upon my knowledge, training and experience, that Corporal Walp
    acted with malice toward Mr. Fehrle.
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     108. I charge $200 per hour for my expert witness work. Thus far, I have been paid a $2,000
        retainer in this case.

     Expert Testimony:

 •    Bain V. Ricker, CV20100223, State Court of Glynn County Georgia
 •    Tracy Moore and Benjamin Moore V. Central Mutual Insurance Company, USF&G Insurance
      Company, Swainsboro Concrete Products Inc., Tassie Andrews Jr. and DM&N Trucking Civil
      Action n2003CV76617
 •    State of Georgia V. Tassie Andrews Jr., Glynn County Police Department Case G0306334
 •    State of Georgia V. Annie Evans-Glodowski, Newton County Superior Court
 •    State of Georgia V. Bianca Vargas, CR0900683-063, Glynn County Superior Court
 •    State of Georgia V. Jennifer Milburn, G0502709, Glynn County Superior Court
 •    Elizabeth Rowe V. Ruby Jean Oglesby, 19BP16307, Glynn County Magistrate Court
 •    Smith V. Forrest Trucking, 14CV002, Superior Court of Wheeler County
 •    State V. Trevor Cannon, CR13-2235-J2, Superior Court of Chatham County
 •    Cannon V. City of Savannah, CV19-3441

 Cases in which I have worked as an expert over the years but do not have specific information
  readily available:
 • Superior Court of Emanuel County, Georgia (Civil Plaintiff)
 • Superior Court of Chatham County, Georgia (Criminal Defense, Civil Plaintiff)
 • State of Georgia V. Bradley Fehrle
 • Superior Court of Glynn County, Georgia (Criminal Prosecution)
 • State Court of Colquitt County, Georgia (Criminal Prosecution)
 • State Court of Glynn County, Georgia (Criminal Prosecution)
 • Magistrate Court of Glynn County, Georgia (Criminal Prosecution, Civil Defense)




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